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                                                 United States District Court
                                                Western District of Washington




HUNTERS CAPITAL, LLC, et al.                                                 Case Number: 20-cv-00983-TSZ

 Plaintiff(s)                                                                APPLICATION FOR LEAVE TO APPEAR
                                                                             PRO HAC VICE
 V.

CITY OF SEATTLE


 Defendant(s)

Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
Erica Iverson                                hereby applies for permission to appear and participate as
counsel in the above entitled action on behalf of the following party or parties:
 City of Seattle


The particular need for my appearance and participation is:
I recently joined Harrigan Leyh from a practice in New York City, and am awaiting admission to the Washington State Bar Association. My application
is complete, but I understand that it will be pending for several months and could be delayed further by pandemic-caused disruptions to the bar
association. Harrigan Leyh anticipates my working in a capacity on this case that will require that I be admitted to practice temporarily before this court,
such as to take and defend depositions. I will be supervised at all times by a lawyer or lawyers admitted in Washington and to this court.




I, Erica Iverson                                              understand that I am charged with knowing and complying with
all applicable local rules;

I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
not disciplinary proceedings against me.

I declare under penalty of perjury that the foregoing is true and correct.


                                                                                                    Erica Iverson
Date: 12/6/2021                                               Signature of Applicant: s/


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Pro Hac Vice Attorney

Applicant's Name:                 Erica Iverson
                                  Harrigan Leyh Farmer & Thomsen LLP
Law Firm Name:
                                  999 3rd Avenue, Suite 4400
Street Address 1:

Address Line 2:

City: Seattle                                         State: WA             Zip:   98104
Phone Number w/ Area Code 206-623-1700                            Bar #   5062781            State   New York
Primary E-mail Address: ericai@harriganleyh.com
(Primary E-Mail address must be for the Pro Hac attorney and not any subordinate or staff member)

Secondary E-mail Address:       conniej@harriganleyh.com


                                       STATEMENT OF LOCAL COUNSEL

I am authorized and will be prepared to handle this matter, including trial, in the event the
applicant Erica Iverson                                            is unable to be present upon any date
assigned by the court.
                                                                     Arthur W. Harrigan, Jr.
Date: 12/6/2021                   Signature of Local Counsel: s/

Local Counsel's Name:             Arthur W. Harrigan, Jr.
                                  Harrigan Leyh Farmer & Thomsen LLP
Law Firm Name:
                                  999 3rd Avenue, Suite 4400
Street Address 1:

Address Line 2:

City: Seattle                                         State: WA             Zip:   98104
Phone Number w/ Area Code 206-623-1700                            Bar #
                                                                          WSBA #1751




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                               Electronic Case Filing Agreement




 By submitting this form, the undersigned understands and agrees to the following:

1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
   notices.

2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
   Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
   against unauthorized use.

3. If you have any reason to suspect that your password has been compromised in any way, you are
   responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
   receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
   5(b)(2)(C), except with regard to service of a complaint and summons. This provision does include
   electronic notice of the entry of an order or judgment.

5. You will continue to access court information via the Western District of Washington's internet site or
   through the Public Access to Court Electronic Records (PACER) system. After January 27,2020, a PACER
   login and password, will be required to electronically file. You can register for PACER access at their web
   site: www.pacer.gov.

6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
   most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
   changes or additions that may be made to such administrative procedures in the future.


 Date Signed   12/6/2021 Signature s/ Erica Iverson
                                                      (Pro Hac Vice applicant name)




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